(1) EMPLOYEES OF THE OKLAHOMA EMPLOYMENT SECURITY COMMISSION, EITHER PERMANENT OR PROBATIONARY, WHO ARE MEMBERS OF THE OKLAHOMA NATIONAL GUARD OR ANY OTHER RESERVE COMPONENT OF THE ARMED FORCES OF THE UNITED STATES AND WHO ARE ORDERED TO ACTIVE MILITARY DUTY IN THAT CAPACITY ARE ENTITLED TO PAYMENT OF THEIR REGULAR SALARY FOR THE FIRST THIRTY DAYS OF SUCH ACTIVE MILITARY SERVICE. EMPLOYEES OF THE COMMISSION WHO VOLUNTARILY ENLIST, OR WHO ARE INDUCTED INTO MILITARY SERVICE ARE ENTITLED TO NO FURTHER PAYMENT OF SALARY OTHER THAN THAT ACTUALLY EARNED.
(2) A STATE EMPLOYEE WHO ENTERS MILITARY SERVICE BEFORE COMPLETION OF THE PROBATIONARY PERIOD OF SUCH EMPLOYMENT IS REQUIRED, UPON BEING REEMPLOYED AFTER HIS RELEASE FROM SERVICE, TO COMPLETE THE REMAINDER OF THE PROBATIONARY PERIOD. IF HE SATISFACTORILY COMPLETES SUCH PERIOD HE THEN BECOMES PERMANENT EMPLOYEE AND BECOMES ENTITLED TO SENIORITY, PAY AND OTHER BENEFITS DATING BACK TO THE TIME THAT HE WOULD HAVE BECOME A PERMANENT EMPLOYEE, UPON SATISFACTORY COMPLETION OF HIS PROBATIONARY PERIOD, BUT FOR THE FACT THAT HE ENTERED THE MILITARY SERVICE.
CITE: 51 O.S. 25.7 (1961)/74 O.S. 832 (1961)/72 O.S. 48 (1961)/74 O.S. 802 (1961)